                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

                               )
 IN RE: REALPAGE, INC., RENTAL )                          Case No. 3:23-md-3071
 SOFTWARE ANTITRUST LITIGATION )                          MDL No. 3071
 (NO. II)                      )
                               )                          JURY DEMAND
                               )
                               )                          Judge Waverly D. Crenshaw, Jr.
                               )
                               )                          This Document Relates to:
                               )                          ALL CASES
                               )


PLAINTIFFS’ MOTION FOR LEAVE TO SUBMIT FEE AND EXPENSE SUBMISSION
                      FOR IN CAMERA REVIEW

       On June 28, 2023, the Court entered a Protocol for Common Benefit Work and Expenses

(Dkt. 302) (the “Protocol”). The Protocol sets out requirements and guidance for all common

benefit work and expenses by counsel for Plaintiffs. On June 13, 2024, Plaintiffs filed a Report to

the Court Seeking Re-Appointment. (Dkt. 923.) On June 24, 2024, the Court set a telephone

conference with Plaintiffs’ leadership team. (Dkt. 931.) On the call, the Court asked that Plaintiffs

make a further common benefit submission. Plaintiffs are submitting a report to the Court (the

“Report”) consistent with that directive.

       Some aspects of the Report do contain information that can be shared with the public and

Defendants, such as information about the prominent roles that attorneys of color, female

attorneys, and attorneys under 30 have performed in this case. However, other information is

highly sensitive and should not be shared with Defendants (or the public) because it discloses how

Plaintiffs have allocated (and are allocating) their time, resources, and money. Specifically,

Attachment A to the Report consists of four charts that (collectively) categorize and summarize

the number of hours devoted to this case by Participating Counsel, including breakdowns of hours



Case 3:23-md-03071         Document 991          1 09/20/24
                                               Filed               Page 1 of 8 PageID #: 16546
by category, by the type of firm (Lead, Liaison, PSC, and non-appointed firms), and by certain

time frames. The Report also includes information about Plaintiffs’ counsel expenses and the

shared litigation fund, including the amount of disbursements from the fund. This information

(including the charts attached to the Report) merits submission in camera. 1 Indeed, the information

is being provided on an interim basis for re-appointment purposes and to demonstrate compliance

with the Court’s common benefit directives—not as part of a recovery request from a common

fund. As the Common Benefit Order itself indicates, eligibility for common benefit recovery “does

not predetermine payment of fees and costs[,]” and any awards of gross common benefit fees or

costs from any common fund settlement will be subject to Court approval at an appropriate time

under the governing standards. (Dkt. 302 at 1–2.)

       With these considerations in mind, Plaintiffs respectfully request leave to (a) submit the

full version of the Report for in camera review only; and (b) correspondingly to file publicly (and

serve Defendants with) a version of the Report that redacts the sensitive information noted above

(including Attachment A in full and targeted redactions in the text). 2

       Plaintiffs asked Defendants for their position on the relief requested. Defendants stated

they did not have enough information or time to form a position because they had less than two

hours to respond, and that they will evaluate what Plaintiffs filed and reserve all rights to oppose.




1
  See, e.g., In re Zantac (Ranitidine) Products Liab. Litig., No. 20-md-2924, 2020 WL 4429690,
at *16 (S.D. Fla. July 31, 2020) (ordering that time, costs, and expense updates, along with
litigation fund accounting, be submitted in camera); In re Fairlife Milk. Procs. Mktg. & Sales
Prac. Litig., No. 19-cv-3924, 2020 WL 362788, at *4 (N.D. Ill. Jan. 22, 2020) (providing that time
and expense information be provided in camera as directed by the Court).
2
  Plaintiffs are transmitting the full filing directly to chambers.


Case 3:23-md-03071         Document 991           2 09/20/24
                                                Filed               Page 2 of 8 PageID #: 16547
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Case 3:23-md-03071      Document 991       3 09/20/24
                                         Filed           Page 3 of 8 PageID #: 16548
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Case 3:23-md-03071   Document 991        4 09/20/24
                                       Filed              Page 4 of 8 PageID #: 16549
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Case 3:23-md-03071   Document 991       5 09/20/24
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Case 3:23-md-03071       Document 991       6 09/20/24
                                          Filed             Page 6 of 8 PageID #: 16551
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Case 3:23-md-03071       Document 991        7 09/20/24
                                           Filed              Page 7 of 8 PageID #: 16552
                                CERTIFICATE OF SERVICE

       I hereby certify that on September 20, 2024, I caused the foregoing to be electronically

filed with the Clerk of the Court using the CM/ECF system, which will send notification of such

filing to the email addresses denoted on the Electronic Mail Notice List.

                                             /s/ Tricia R. Herzfeld
                                             Tricia R. Herzfeld




                                                8

Case 3:23-md-03071        Document 991        Filed 09/20/24      Page 8 of 8 PageID #: 16553
